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FILED

UNITED STATES DISTRICT COURT MAR 07 2024
WESTERN DISTRICT OF TEXAS ie, Wea

MIDLAND-ODESSA DIVISION ey

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United States of America

Vs. NO: M0O:24-M -00053(1)

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(1) Mario Aldaz

WAIVER OF PRELIMINARY HEARING
AND/OR DETENTION HEARING
(Rule 5 or 32.1, Fed.R.Crim.P.)

PRELIMINARY HEARING

I, (1) (1) Mario Aldaz_, charged in a complaint pending in this District, and having appeared
before this Court and been advised of my rights as required by Rule 5 or 32.1, Fed.R.Crim.P., including
my right to have a preliminary hearing, I have been advised that at a preliminary hearing, the government
will be required to provide evidence to support the charges pending against me. Now, appearing with the
benefit of counsel I, do hereby waive (give up) my right to a preliminary hearing.

Yo, (1) (1) Mario Aldaz_, el inculpado en una acusacién pendiente en este Distrito, he
comparecido ante este Tribunal y me han informado de mi derecho a una audiencia preliminar,
cumpliendo con el reglamento 5 0 32.1 de los Reglamentos de Procedimientos Penales Federales, por

este medio renuncio (abandono) a mi derecho a una audiencia preliminar.

Date/Fecha - Defendaftt/Acusado

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DETENTION HEARING

I have also been advised of my right to a detention hearing. I have been advised that, at a
detention hearing, the court will hear evidence to determine whether I should be held in jail without bond
or whether a bond should be set for me. I have been advised that, if I waive (give up) my right to a
detention hearing, I will be held in jail without bond while I wait for trial. I have discussed this right
with counsel, and I hereby waive (give up) my right to have a detention hearing.

También me han informado de mi derecho a una audiencia para fijar fianza, el juez recibira las
pruebas para poder determinar si seguiré detenido sin fianza o si me fijaran fianza. Me han informado
que si renuncio (abandono) mi derecho a una audiencia para fijar fianza, seguiré detenido sin fianza hasta
que se me someta a jucio. Renuncio (abandono) mi derecho a una audiencia para fijar fign

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Date/Fecha Defend

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Date/Fech COUNSEL FOR DEFENDANT

Abogado Del Acusado
